
340 S.W.3d 304 (2011)
M.H., Respondent,
v.
P.W., Appellant.
No. ED 94497.
Missouri Court of Appeals, Eastern District, Division Four.
April 12, 2011.
Benicia Baker-Livorsi, St. Charles, MO, for Appellant.
Aaron M. Staebell, St. Peters, MO, for Respondent.
Before KURT S. ODENWALD, P.J. and ROBERT G. DOWD, JR., J. and RUSSELL E. STEELE, Sp.J.

ORDER
PER CURIAM.
P.W. ("Mother") appeals from the grant of M.H.'s ("Father") motion to modify custody and support. Mother asserts the trial court erred (1) in failing to sua sponte appoint a guardian ad litem to represent the child in this matter because there were allegations in the pleadings and evidence presented at the hearing on the motion to modify regarding domestic violence between Mother and her former fiancee, and (2) in modifying the custody schedule and changing the child's educational residence.
We have reviewed the briefs of the parties and the record on appeal and find the claims of error to be without merit. An opinion reciting the detailed facts and restating principles of law would have no precedential value. The parties have been furnished with a memorandum for their information only, setting forth the reasons for this order. The judgment is affirmed in accordance with Rule 84.16(b).
